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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                              CASE N O.18-20482-CR-W ILLIAM S/SE1TZ
 '
     UN ITED STA TES OF AM EIU CA ,



     RAYM OND BROW N ,

                   Defendant.
                                                       /

       O RD ER A FFIRM IN G A N D A D O PTIN G R EPOR T A N D R EC O M M EN DA TIO N O N
                     DEFEND A N T'S M O TIO N TO SU PPR ESS IN PA R T

            TH IS CA U SE isbefore the Courton theR eportand Recom m endation on D efendant's

     M otiontoSuppressEDE 345,inwhichtheM agistrateJudgerecommendsthatDefendant's
     M otiontoSuppressPhysicalEvidenceandStatements(DE 21qbedenied.Defendant's
     objectionsgDE38qraisetwomainissues:(1)thattheM agistrateJudgeerred indeterminingthat
     law enforcement'sinitialentryintoDefendant'shomewasproperand (2)thattheM agistrate
     Judge en'
             ed in finding that,afterthe entry into the residence,the scope ofthe protective sw eep

     perform ed by 1aw enforcementwasproper. On October22,2018,the Courtheard argum ents

     from counselontheM otiontoSuppress,theobjections,andtheGovernment'sresponse.
     Because 1aw enforcem entlegally entered D efendant'shom e and the gun w ould have been

     discovered independently,theM otion to Suppressisdenied.

  EntryIntoDefendant'sHome
            DefendantfirstarguesthattheM agistrate Judgeerred when hefound thatlaw

     enforcem ent'sinitialentry into D efendant'shom e w asproper. W hile D efendantconcedesthat

     law enforcementhad probable causeto arresthim ,hearguesthatlaw epforcem entdid nothave

  therightto enterhishom eto effectuatethearrest. Defendant'srelianceon United Statesv.
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  Santa,236F.3d662(11th Cir.2000),in supportofhisargumentismisplaced.UnlikeinSanta,
  wherelaw enforcem entm adea warrantlessentry into alocked apartm entin ordertoeffectuate an

  arrest,here 1aw enforcem entattem pted to effectuate D efendant'sarrestw hile D efendantw as

  outsidehishom e. Defendant,however,upon seeing 1aw enforcem entapproaching,entered his

  hom e,land thus,created exigentcircum stances.

         Theexigentcircum stanceexception to the warrantrequirem entiGencom passesseveral

  com m on sim ationswhereresortto am agistratefora search wan'
                                                              antisnotfeasibleoradvisable,

  including:dangerofflightorescape,lossordestruction ofevidence,risk ofharm to thepublic or

  thepolice,m obility ofavehicle,andhotpursuit.'' United Statesv.H olloway,290 F.3d 1331,

  1334(11thCir.2002) AstheM agistrateJudgeconcluded,ççarmedwithprobablecauseforan
  arrest?1aw enforcem enthad reason to believethatthey werepursuinga fleeing felon whom ay

  havebeen in unlawfulpossession ofnarcoticsand afirearm atthetim eoftheentryinto the

  Defendant'sresidence. A reasonablepoliceofficercould alsoreasonably believethatthe

  Defendantfled into hisresidenceto destroy orhidenarcoticsorafirearm,orto flee from arrest.''

  Defendanthasnotpointed to orpresented any evidenceto thecontrary. Consequently,unlike in

  Santa,Defendantcreated theexigentcircum stancesby disregarding 1aw enforcem ent's

  com mandsto stop,grabbing hiswaistbr d,tum ing away from theofficers,nlnning insidethe

  house,andclosingthedoor.Accordingly,thisobjectionisovernlled.




         lw hile the patiesm ay dispute how quickly D efendantw entinto his hom e after seeing
  approaching law enforcem entoffcers,neitherparty disputesthatD efendantw entinto hishom e.
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  The Protective Sweep

         DefendantraisestworelatedobjectionstotheM agistrateJudge'ssndingthatthe
  protedivesweepwasproper:(1)thatlaw enforcemententryintothebathroom wasimproper
  becauseonceDefendantexitedthebathroom theyknew itwasnotoccupiedand (2)thatthegun
  found by DetectivePerdomo in thetoilettank wasnotin plain view during 1aw enforcement's

  protectivesweep.Defendant'sfirstobjectionreliesontheCaseSupplementalReportsubmitted
  byDetectiveGregoirerDE 38-2)whichstatesthatDefendantwastheonlypersoninthe
  bathroom atthetim epolice entered. Thatreportwaswritten afterthefact.Thereisnothing in

  thereportthatindicatesthatwhenlaw enforcemententeredtiehousetheyknew thattherewas
  only oneperson in the bathroom .Thus,afterDefendantexitedthebathroom ,therewasstill

  reason for1aw enforcem entto believethatsom eoneelsecouldhavebeen in trhe bathroom . Thus,

  theprotectivesweep ofthebathroom wasnotim proper.

         However,thescope ofDetectivePerdomo'sactionswhilein thebatluoom exceeded

  those perm issible in a protective sw eep.A s deûned by the Suprem e Courta Gûçprotective sw eep'

  isaquick and limited search ofprem ises,incidentto an an-estand conducted to protectthesafety

  ofpoliceofficersorothers.Itisnarrowlyconfined to acursory visualinspection ofthoseplaces

  inwhich apersonmightbehiding.''Marylandv.Buie,494U.S.325,327(1990).Theevidence
  indicatesthatwhen Detective Perdom o entered thebathroom hewenttothebathtub and pulled

  back the curtain. Upon seeingthe1idto thetoilettank in thebathtub,DetectivePerdom olooked

  intothe open toilettank and saw agun atthebottom ofthetoilettnnk. DetectivePerdomo could

  nothaveseen thegun atthebottom ofthetoilettalzk withoutleaningoverand looking into the

  tank. Thisaçtion,how ever,exceeded the scope ofa protective sw eep. Clearly,a person could


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  nothavebeen hiding in thetoilettnnk. Thu's,afterchecking behind theshowercurtainto ensure

  thatno onewashiding in thebathroom ,theprotectivesweep in thebathroom should havebeen

  done. Consequently,DetectivePerdom o'slook into thetoilettank wasan impropersearch.

  IndependentSource

         Underthe independentsource exception to theexclusional'
                                                               y nlleçievidenceobtained from

  alawfulsourcethatisindependentofany Fourth Am endmentviolation isadm issible,the

  rationalebeingthattheexclusionary ruleshouldnotputthegovernm entin aworsepositionthan

  ifthe constitutionalviolation hadnotoccurred.'' United Statesv.Noriega,676 F.3d 1252,1260

  (11th Cir.2012).W hilethesearchwarrantinthiscaserelied,inpal't,onthegtm fotmd during
  theprotectivesw eep,itisstilladm issibleundertheindependentsourceexception because,in the

  Eleventh Circuit:

         W hen a governmentagentmakesan initialwarrantlessentrythatarguably violatesthe
         Foul'th Am endm entandthen reliesin parton whathe saw dtlringthatentry to obtain a
         search warrant,weapply atwo-parttestto determinewhetherevidence seized duringthe
         execution ofthewarrantwasdiscovered independentofthe initialentryand istherefore
         adm issibleregardlessofwhetherthattèrstentryviolated theFourth Amendm ent.See
         Unitedstatesv.Chaves,169F.3d687,692-93(11thCir.1999).Thefirstthingwedois
         excisefrom thesearch warrantaffidavitany infonnation gained duringthearguably
         illegalinitialentryand determinewhethertheremaining infonnation isenough to support
         aprobablecausefinding.See jt  ;l lftherem aining ornonexcised information isenough
         to supportaprobablecause fnding,thesecond thing wedo isdetenuine whetherthe
         offcer'sdecision to seek thewarrantwasççprompted by''whathehad seen during the
         arguablyillegalently.Murbay fv.Unitedstates-l,487U.S.(533,j542 (19#8j;seealso
         Chaves,169 F.3d at693.To detenninewhetheran officer'sdecision to seek awan'antis
         prom pted by whathesaw duringtheinitialentry,courtsask whetherthe officerwould
         havesoughtthewarranteven ifhe had notentered.M urray,487 U.S.at542 n.3,108 S.
         Ct.at2536 n.3. Ifthe ofûcerw ould have done so,hisdecision to seek the search w arrant
         issupported by an tsindependentsource,''and theevidence seized pnderthewarrantis
         admissibleregardlessofwhethertheinitialentry violatedtheFourth Am endment.See
         Chaves,169 F.3d at692-93.

  Unitedstatesv.Noriega,676F.3d 1252,1260-61(11th Cir.2012).
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         Here,areview oftheAffidavitforSearch W arrantclearly establishesthatifreferenceto

  thegun had been excluded probablecauseforissuance ofthewarrantstillexisted. TheAffidavit

  forSearch W arrantincluded thatlaw enforcem enthadreceived information thatDefendant's

  residencewasbeing used fornarcoticstrafficking and thatDefendantpossessed firearms;

  Defendantwasalcnown gang m ember;1aw enforcem entobserved Defendantconductadrug sale

  outsideoftheresidence'
                       ,afterthe sale,thedrugswere impotmded;law enforcementobserved

  anothertransaction wheretheperson statedhewenttoD efendant'shouseto placeillegalbets;

  1aw enforcem entobserved athird transaction w herethe person stated thathe attem pted to

  purchasecocainefrom Defendantbutwasunableto becauseDefendantwould notfronthim the

  cocaine;1aw enforcementobservedDefendantconstantlyadjustingthefrontofhisshortsand
  observedDefendantappeartograbanobjectathiswaistband;when1aw enforcementapproached
  Defendant,Defendantwentinto thehouse;andwhen 1aw enforcementfollowed Defendantinto

  theresidenceand conducted aprotectikesweep they found in plain view azip lockbag of

  powdercocaine on thelivingroom table.Together,thisissufficientto establish probablecause

  and to issueaseazch warrant. Thus,thefirstpa14ofthetesthasbeen m et.

         Next,the Courtmustdeterm inewhether1aw enforcem ent'sdecision to seek thesearch

  warrantwasprom pted bythediscovezy ofthegun.Basedon thefactsOfthecase,itappearsthat

  1aw enforcem entwould have soughtthesearch wan'anteven ifOfficePerdom ohad n0tjeen the

  gtm in thetoilettrmk.The Affidavitf0rSearch W azrantsetoutextensivefacts,excludingthe

  factaboutthe gtm,which would havegiven risetoprobable causeandreason to seek asearch

  wanunt.See UnitedStatesv.Chaves,169F.3d687,693(11th Cir.1999)(findingsecondprong
  oftestm etw here,even discounting the partofthe affidavitdescribing inform ation uncovered


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  during the unconstitutionalwarrantlessentry,thebalanceofthe affidavitsupportsafinding Of

  probablecauseand nothing in therecord indicatesthattheofficerswerepromptedto seek the

  wazrantbasedonwhattheyhadseen duringtheunconstitutional,warrantlessentry).
  Consequently,the second partofthetesthasbeen met.Accordiùgly,the gtm isadmissible,as

  aze a11item s seized pursuantto the wanunt.

         Defendantalso seeksto suppressoralstatem entshem ade aboutthe drugsand gtm.

  However,accozding to the testim ony atthehearing in frontoftheM agistrateJudge,the

  statem entswerem adeafterD efendantreceived aM iranda warning and aftertheissuanceofthe

  search warrant. Thus,by thetim eDefendantmadethe statem entsthegtm wouldhavebeen,or

  could havebeen,found astheresultofthelegalsearch resulting from thesearch warrant.

  Consequently,theDefendant'sstatem entsaboutthedl-ugsand gun in responseto 1aw

  enforcem entquestions are adm issible.

         Thus,having carefully reviewed,denovo,M agistrateJudgeTorres'Reportand

  Recommendation,therecord,Defendant'sObjections,andtheGovernment'sresponse,itis
         ORD EILED that:

         (1)TheReportandRecommendation onDefendant'sM otion toSuppressfDE 34jis
  AFFIRM ED and ADOPTED in part.

         (2)DefendantBrown'sObjectionstoM agistrateJudge'sReportandRecommendation
  (DE 381areOVERRULED inpal'tandSUSTAINED inpart.
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        (3)Defendant'sM otionto SuppressPhysicalEvidenceandStatementsgDE 21jis

  DENIED.                                           *
        DONEandORDERED invimni,s-lorida,thisx : dayoroaober,2018.
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                                                    .          L-.

                                       PATRI IA A . IT
                                       UN ITED STATES DISTRICT JU D G E

  cc:   M agistrate Judge Torres
        A11CounselofRecord




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